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                               THE UNITED STATES DISTRICT COURT
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                         FOR THE WESTERN DISTRICT OF NORTH CAROLNA
                                    STATESVILLE DIVISION

                                         CRIⅣ 困 AL NO:5:15∝ 15‐ RLV

    lIMTED STATES OF ANIERICA,                             )

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     a rlnal order OffOrfeitШ o shali bo cntcred lfno
     bё come thc flnal ordcr of fOrfeiture,as providè

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      right to do SO



      ЛLL u7ES¶ N10RELAND ROSE
      llNITED STATES ATTORNEY
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      BENJAMIN BAIN‐ CREED                                    MICHAEL FLUCKlGE
      Assistant UnitCd Statcs Attorncy




                                                                   肥 W PRllDEN,ESQ.




       Slercd this the / f,4day of Novomber, 20 16'




                                                         lJNITED STATES DISTRICT JUDGE




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